     Ft         C)         Ft            Ft        C      U)
     Ft         0                                                                      U)                         C         (C        C         C)
                           U)            C         0     Ft                  0         U)                                                                 S                                    C)
     U)         H          Ft            H                                                                        U)        0         0         H-        0
                                                   C     0                   Ft        C                          C                                                                            Ft
     Ft        H           U)            Ft        Ft    Ft
                                                                                                                            H         UI    C             Ft                                   Ft
                                                                             H-        Ft                     U)            U)        Ft    Ft            H-
               U)          C             Ft        H-    Ft                  Ft        H-                                                                                                      Ft
     Ft        C          Ft             U)        Ft
                                                                                                              CD            H         U)    H)            Ft
                                                         H-                  H-        0                                    UI                                                                 Ft
     U)        Ft         U)             H         H-        C                                                                        H               H)                                       C)
               H-                                                            U)        C                      Ft            S         U)    -
                          C                        0     Ft                  Ft
               (1         Ft                                                                                  U)            U)        C         Ft        C
                                                   UI                                  U)                     H-                                                                              (I)
     Ft        UI                                  U)                                                                       UI       C          0         0                                   H)
                                                             0               U)                               C             Ft       U)
     0         U)         Ft        0                        C         0     U)                                                                           C                       H           Ft
     (U        Ft                                                                                U)     Ft    Ft                                U)        Ft       Ft
                          C         Ft             Ft        C         Ft              ‘)                                                                                         (1)         H
     U)                   H”        C)                                                           Ft     H                   C        Ft         H         H-       Ft
                                                   U)        U)        C)    Ft              C)               U)                                                                              Ft
               Ft         U)        Ft             U)                                                                       0        U)         Ft        Ft       H-                         (I)
                                                                       (1)   0               Ft        Ft     Ft            C        Ft
               U)                   CI             S     Ft                  Ft                                                                           H-       U)
     H-        C                                                       Ft          Ft        CI        (1)    0             U)       Ft     (1)           0
                          Ft        Ft             U)    U)            Ft    Ft    Ft        Ft        -                                                                                      0
     U)        H-         0         CI                                                                        (U            U)              H             C        5
                                                   Ft    H             C)    0     U)        C)               C             C                                                                 CI
               Ft         (U                                                                                                         Ft     0             U)    U)
 U)            H-                                                            (U    Ft        -         Ft                   Ft   H)         (U                  Ft
                       U)           Ft         U)        (U        Ft        U)
                                                                                                                                                                                                              Case 2:10-cr-00633-SRC




 C         Ft                       Ft                                                                 Ft                   H-              UI        0         Ft
                                               Ft        U)        Ft              Ft       Ft         U)                   C        Ft                                                       Ft
 Ft        H)                       U)         Ft        U)                                                                                 U)        Ft        U)                            Ft
 U)                                                                U)              U)        C         H                Ft           Ft     Ft
                       0            Ft         H                   Ft              Ft                                                                           H                             Ft      C)
 U)            0       C                                                                     H         U)                            U)     U)        Ft
                                               0                                   U)        U)                                                                                               Ft    -C)
 Ft            H       C            Ft                                                                 Ft               H-                  H-        H         Ft
                                              Ft                   Ft              C         C         0                C                                                                     C)    ‘Ft
 C                     U)           Ft        H          (U                                                                          C)     UI        U)        U)                                   H3
                                                                                                                                                                                                     1
 U)                                                                Ft              Ft        U)        H                             0                Ft
                                                                                                                                                                                              Ft
               U)                   U)         H-        H-        U)              U)                                                                           H                                   Ft
 C             C       U)                                                                    C         U)               Ft           C                H         H-
           L
                                               U)        Ft                        C         Ft                                                                                                      C)
Ft                     H            Ft         Ft                                                                       U)           H      Ft        H-        C
Ft
                                                         Ft        Ft              Ft                                   H            Ft     U)
                      U)        U)             U)                  U)                                                                                 U)       U))
H)         0                                                                                 Ft        0                Ft                 Ft         Ft
                      H         Ft                      Ft         Ft              C)
           Ft                                                                                0         UI                            0                          Ft
                      H)        U)            Ft        H          U)              H-                                                                                                                    Ft
 Ft        Ft                   UI                      H-
                                                                                                                        U)           UI               H         U)
                                              H)                   UI              C         H         Ft                                                                                                H
                                                                                                                                                                                                              Document 122




 H         U)         ft        Ft                                                                                      UI                            U)        CD
                                                        0          Ft             Ft         H-        CI               Ft                                                                          Ft
 U)        H          (U        U)                      H          U)                                                             Ft       U)         Ft        UI                                  CI
                                                                                                                                                                                                    1
 C                    0                                                           H)         Ft        H-                        C         Ft         U)
                                C              Ft                  UI                        Ft        U)
 U)        Ft                   Ft             H                                                                        0        Ft        Ft         U)       0
                                                         C         Ft              U)        CD                         Ft       C                                                                      “C)
 Ft        0          (U                       U)       0                                                                                  U)         U)       Ft                                   Ft
 U)                                                                                                                    -         U)        U)
           C          U)        H-             Ft       Ft         H-                                                                                 U)       U)       010              FtC)
 H         U)         U)
                                                                                  C          Ft                         U)       Ft        H                   C
                                U)             H        H-         U)             0                                                                                     Ft Ft           0 H
 H         Ft         C                        H-                                                     -N.               C                  H-         S        U)       C)              CH          c
                                                        C                         C                                     Ft
 U)                   U)        U)            U)        CD                                                                                 C          U)       Ft       FtFt                        Ft
                                                                  Ft                                                    H-                 Ft
                                                                                                                                                                                             S
 Ft        C                    Ft            Ft                   U)             H-                                                                  Ft                ZFt                         C)
           0          U)        Ft                                                          C)        Ft     ‘%         C                             U)       Ft
                                                        Ft         H              Ft        C         U)                                                                C)              U)
Ft         H          Ft                                                                                      ‘        Ft        N)
                                ()            0)        0          5              H-        H-                                                                 H)       FtC)            FtC)
0          H                    (U            U)                                                      H)                         0         Ft         Ft                Ft 0            U)
                                                                   H-             0         Ft                                                                                               0           C)
                                                                                                                                                                                                              Filed 08/09/11




           U)         Ft        U)                                                                                      H-       Ft        C         H)        U)       FtC)
                                              H                    Ft             UI        U)        0                 C        Ft
                                                                                                                                                                                        C                C)
(U         C          Ft        Ft            H         U)         Ft                                                                      H                   UI          Ft           Ft               C)
H-         Ft                                                                     U)        Ft        Ft                         -         H-
                      U)                      H-        UI         U)                                                                                 Ft                C)CI            U)H”             Ft
Ft         H-                   Ft            C                                                                        Ft                  C         U)        0        Ft H)           H)
                                                        Ft         Ft             0         (1)       Ft               U)        U)                                                                      H
Ft         0         Ft         0             U)                                                                                           Ft        Ft        H        C) Ft
           C         U)                                                           Ft        Ft        C                H         C                   U)        U)
                                              U)        C         Ft                        U)                                                                          FtC)            Fto
Ft        U)         U)         H                                                                     Ft               Ft        Ft        U)        C         Ft       FtC)
                                                        C         0               H         Ft        C
H         Ft         U)         H-                      Ft                                                                                           Ft                                      (1)
H-                                                                                U)        U)        U)                         Ft        U)        U)
                     (U         U)            U)        U)        Ft              Ft        U)                                                                 5        (1)0)           C)
0         Ft                    H-                                                                    Ft               U)        Ft        Ft        C         0
                                              C         H         0               U)                                                                                       0            Ft-
H         U)         C)         Ft                                                                                     UI        U)        U)        Ft        Ft       FtC)            (DC)
                                              Ft                                  U)        C)
          C          0                                  U)                                                             Ft                  Ft                  H-       FtC)            U)Ft
C         H-
                                                                  Ft              U)        0         Ft                                   C         11)
                     C          Ft            H-        C         H               U)                                                                           0        FtFt            FtC)
0         Ft         C          H-                                                          Ft        0                Ft                  U)        Ft        C
                                              Ft        C         0                         U)        Ft
                                                                                                                                                                        Ft H            U)
Ft        H-         Ft         1)                                                                                     0                             H-                 FtFt            H
                                                        Ft        C               Ft                  Ft               H
H-        Ft         H)                       H-                                                                                                     Ft        Ft       (1)0
                                                                  U)              CD
C         H)                    C             U)                  H                                                                                  C         0        Ft Ft
U)                              0                                                                                      Ft                            H-                    (1)
                                                                  H)                                                   0                             CD
                                I                                                                                      0                             (U                      0
                                                                                                                       Ft
                                                                                                                                                                                                              Page 1 of 2 PageID: 802




                                                                                                                                                                             CI
           it            Ci)        it
           U             CD         0
           H             U      -

                         Hi        CD
           CD            C)        U
           Hi            CD        UI
           Hi            02
           CD                      U
           C)                      U
           it       C)   CU        UI
                    UI   U         CD
                    U)   UI        U
                    UI
                    UI   Hi     0)
                    U)   it     U
                    U)          C)
                         Hi     UI
                                         Case 2:10-cr-00633-SRC




                    it   0)
                 UI             C)
                 CD      Hi     0
                 it      U      U
                         U      UI
                 CD      it     Hi
                 Hi      UI     it
                 Hi      CD     H-
                         U      0
                UI              U
                U               02
                 Hi
                 C)            UI
                                         Document 122




                 U             CD
                               CD
 U)              C)
 U               0             CD
                 U             UI
 rt             UI
CD              Hi             Di
UI              it             UI
C!) UI                         UI
                0              U
itU)            U              0
CD              02             UI
itU)
                                         Filed 08/09/11




CDF             0
                Hi             iii.
      UI                       it
                U              CD
      U)        CD
                Hi             UI
it              CD
UUI             CD
                02
C)              CD             U)
it                             U
                U              CD
U)              CD             it
U                              U
UI              CD
                Hi
CD              U              Hi
                Hi
                U
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